Case 2:03-Cv-02216-BBD-gbc Document 133 Filed 06/02/05 Page 1 of 9 Page|D 317

IN THE UNITED STATES DISTRICT COURT
FoR THE wESTERN I)ISTRICT oF TENNESSEE _ r_ __ . ___3
WESTERN DIvIsloN i.».¢\ ‘ 333 f 11

In Re ACCREDO HEALTH, l'NC.

SECURITIES LITIGATION, Civil Aotion No.: 03-22]6-BP

CLASS ACTION

 

This Dooument Relates to:

ALL ACTIONS

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JOINT MOTION FOR ENTRY OF THE JOINT CASE MANAGEMENT a TE
AND [PROPOSED] RULE 16(b) SCHEDULING ORDER-

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COME NOW all Plaintiffs and Defendants, pursuant to Rule ]6(b) of the Federal Rules

of Civil Procedure, and move the Court for an Order entering the Joint Case Managernent

Statement and [Proposed] Rule l6(b) Scheduling Order.

ln Support of this Motion, the parties respectfully Submit that they have agreed upon the
Joint Case Management Statement and [Proposed] Rule l6(b) Scheduling Order. A Joint Case
Management Staternent and [Proposed] Rule 16(b) Scheduling Order is Submitted With this
Motion.

For the foregoing reasons, the parties jointly move the Court to enter the attached Joint

Case Management Statement and [Proposed] Rule l6(b) Scheduling Order.

MOTION GRANTED

    

BERNICE BOU|E DONALD
U. S. DISTRICT JUDGE

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This notice confirms a copy ofthe document docketed as number 133 in
case 2:03-CV-02216 Was distributed by faX, mail, or direct printing on
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Case 2:03-cv-02216-BBD-gbc Document 133 Filed 06/02/05 Page 3 of 9

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Page|D 319

Case 2:03-cv-02216-BBD-gbc Document 133 Filed 06/02/05 Page 4 of 9

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Page|D 320

Case 2:03-cv-02216-BBD-gbc Document 133 Filed 06/02/05 Page 5 019 Page|D 321

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Case 2:03-cv-O2216-BBD-gbc Document 133 Filed 06/02/05 Page 7 019 Page|D 323

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Case 2:03-cv-O2216-BBD-gbc Document 133 Filed 06/02/05 Page 8 019 Page|D 324

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Case 2:03-cv-O2216-BBD-gbc Document 133 Filed 06/02/05 Page 9 019 Page|D 325

Honorable Bernice Donald
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